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                                                                                                                 , ,. /
                                                                                                                          .,
                          IN THE UNITED STATES DISTRICT COURT. e                               ,
                              FOR THE DISTRICT OF MARYLAND       "                                 ': 7
                                      Southern Division       "/




CHARLES       SMITH, #424503,                         *
        Petitioner,                                   *
v.                                                                      Case No.: GJH-16-3805
                                                      *
RICKY FOXWELL,

                                                      *
        Respondent.
                                                      *

*       *        *        *         *        *        *        *        *        *        *          *       *

                                        MEMORANDUM              OPINION

        On or about October 11,2016, Charles Smith, an inmate detained at the Brockbridge

Correctional Facility in Jessup, Maryland, filed a Petition for Writ of Habeas Corpus in the

United States District Court for the District of Columbia. ECF No. I. Holding himself out as a

Moorish-American National, Smith seeks assistance from a "Republican form of Government" to

obtain his immediate release from unlawful imprisonment. ld. at 2. He contends that his case

arises out of the "Treaty of Peace and Friendship of 1787 /1836" between Morocco and the

United States of America, the Constitution, the United States Declaration of the Rights of

Indigenous Peoples, the "Clearfield Doctrine,,,1 and the Inter-American Commission on Human

Rights.ld. at 2-5. On November 7, 2016, United States District Judge Richard J. Leon ordered



I In raising this claim Smith invokes the "Clearfield Trust Doctrine," which refers to the rule describing the rederal

courts' power to make federal common Illw when there is a federal lawmaking power to do so and a strong federal
interest in a nationally uniform rule. The name is derived from the case Cleatfield Trust Cu. v. United Stutes. 318
U.S. 363 (US 1943) wherein the criteria for determining whether the court should create a federal common law rule
due to the existence of a significantly important federal interest was described.
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the case transferred to this District, finding that the case could not be reviewed in the District of

Columbia, as Smith's Writ challenged his current confinement in Maryland. ECF No.5; Smith v.

Foxwell, 16-cv-02042-RJL (D. D.C. Nov. 8,2016). The matter was ordered transferred to this

Court on November 8, 2016 and was received on November 29, 2016.1d.

           This Writ represents the ninth federal habeas corpus action filed by or on behalf of Smith

in the past two years. In his prior Petitions, Smith raised claims related to his Moorish-American

ancestry and the jurisdiction of state authorities to prosecute him. Until Smith's most recent two

Petitions, each Petition was summarily dismissed without prejudice. See Smith-Bey v. Wolfe,

2015 WL 7721815, GJH-15-3448 (D. Md. Nov. 30, 2015); Smith-Bey v. Wolfe, GJH-15-1915 (D.

Md. July 8, 2015); Smith-Bey v. Wolfe, GJH-15-1654 (D. Md. June 17,2015); Smith-Bey v.

Wolfe, GJH-15-1336 (D. Md. May 29, 2015); Smith-Bey v. Wolfe, GJH-15-764 (D. Md. Apr. 24,

2015); and Smith-Bey v. Wolfe, GJH-15-1067 (D. Md. Apr. 22, 2015). In Smith-Bey v. Wolfe,

GJH-15-1915, the Court cautioned that any further Petitions by Smith raising a challenge to his

conviction on grounds of his Moorish-American defense would be decided on the merits. Jd. at

ECF NO.3. Nonetheless, Smith raised similar challenges in Petitions instituted as Smith-Bey v.

Wolfe, GJH-15-2606 (D. Md. Oct. 6, 2015) and Smith-Bey v. Warden of Jessup Correctional

Institution (Inc.), GJH-16-665 (D. Md. Mar. 28, 2016). Those Petitions were denied and

dismissed with prejudice on October 7, 2015 and March 28, 2016.

           In the present Petition, Smith attacks his March 27, 2014 "violation of probation"

conviction and five-year sentence imposed in the Circuit Court for Charles County? ECF No. I.



2   The state court docket shows that Smith was represented by counsel in his criminal proceeding. After a jury trial
                                                             2
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Affording his self-represented Writ a generous construction, it appears that Smith is claiming that

as a "sovereign autonomous Moorish-American National Moslem of the Moroccan

Empire/Moorish Nation," he is a descendant of Moroccans and is not a "corporate citizen."

Smith contends that he is being held unlawfully, in involuntary servitude, and restrained in

violation of the Constitution and the aforementioned Treaty between Morocco and the United

States. Smith further claims that he is being detained under a fictitious name and

"denationalized" by "assimilating" him as a stateless person under the name of "CHARLES

SMITH, ID 424503, Black/African-American             race." ECF No. I at 5-6.

        Smith additionally alleges that he was arrested without a warrant and "arbitrarily

searched, detained and held as prize of the STATE OF MARYLAND (Inc.) compelled to sign

several misrepresented instruments - bills of attainder under threat, duress, and coercion, and

compelled to pay a ransom in Federal Reserve Notes (private commercial paper) for his release."

Id. at 6. Smith next contends that an administrative officer in the Circuit Court for Charles

County issued a void bill of attainder against him, which caused him to be imprisoned for five

years.ld. at 7. Smith complains that Circuit Court personnel have failed to respond to his

Affidavits, and he continues to be held against his will at various local and State correctional

facilities.3 ECF No. I at 6-10.


before Judge Robert C. Nalley, Charles Arnell Smith was convicted of second-degree physical child abuse in the
Circuit Court for Charles County, Maryland. On March 27, 2014, he was sentenced to a five-year term. State v.
Smith, Case Number 08KlO00792 (Circuit Court for Charles County). On July 1,2015, the Court of Special Appeals
of Maryland denied Smith-Bey's application for leave to appeal. See Maryland Judiciary Case Search Results
http://casesearch.courts.state.md.uslcasesearchlinquiry Detai Ij is?caseld~08K I0000792&loc~64&detaiILoc~ K (last
visited December 1,2016). The docket further shows that a "writ of habeas corpus ad subjiciendum" was filed on or
about March 14, 2016, and remains pending.
J Attached to the Writ are copies of the "Affidavits" Smith submitted to the Circuit Court for Charles County,

Maryland. ECF NO.1-I.
                                                        3
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         28 U.S.C. ~ 2254 requires "a person in custody pursuant to the judgment of a State court

[to demonstrate] ... that he is in custody in violation of the Constitution."    S 2254(a).   Although

previously warned by this Court that only constitutional claims would be subject to review,

Smith has failed to set out colorable claims in support of his challenge to his 2014 Maryland

conviction and current confinement. Thus, habeas corpus relief will be denied.

         When a district court dismisses a habeas petition, a certificate of appealability may issue

only if the applicant has made a substantial showing of the denial ofa constitutional right. 28

U.S.c.   S 2253( c)(2).   A prisoner satisfies this standard by demonstrating "that reasonable jurists

would find the district court's assessment of the constitutional claims debatable or wrong."

Tennard v. Drelke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

(2000)), or that ..the issues presented were 'adequate to deserve encouragement to proceed

further.'" Miller-el v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefool v. ESlelle, 463

U.S. 880, 893 n.4 (1983)). Smith does not satisly this standard, and the Court declines to issue a

certificate of appealability.

         For the foregoing reasons, Smith's Petition for Writ of Habeas Corpus, ECF No. I, shall

be denied and dismissed with prejudice. A separate Order follows.




Date: December.2     7, 2016                                      &::ft-
                                                                  George J. Hazel
                                                                                 •
                                                                  United States District Judge




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